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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA

 Wallace James Beaulieu                               Civil File No. 11-cv-2593 (DWF/JFD)
                             Plaintiff,
                                                                    ORDER
           vs.

 Lucinda Jesson, et al.
                             Defendants.

          This matter is before the Court on the parties’ Joint Stipulation to Extend the Discovery

Deadline and Permit Deposition of Plaintiff. Based upon all the files, records, and proceedings

herein,

          IT IS HEREBY ORDERED THAT:

          1.     The Joint Stipulation is in all respects GRANTED; and

          2.     The Scheduling Order (ECF 51) is amended as follows:

                 a.     The deadline for completion of discovery is extended to February 1,

                        2024. All discovery shall be noticed so as to be completed by

                        February 1, 2024.

          3.     The Defendants are permitted to take Plaintiff’s deposition pursuant to Fed.

R. Civ. P. 30 before the discovery deadline.

          4.     All other deadlines and provisions contained in the original Scheduling Order

(ECF 51) otherwise remain unchanged.

                                                 BY THE COURT:

                                                   s/ John F. Docherty
Dated:         December 5, 2023                  JOHN F. DOCHERTY
                                                 United States Magistrate Judge
